894 F.2d 407
    Billings (Douglas E.)v.TVA Credit Union
    NO. 89-5299
    United States Court of Appeals,Sixth Circuit.
    JAN 25, 1990
    
      Appeal From:  E.D.Tenn.
      VACATED.
    
    
      1
      (The decision of the Court is referenced in a 'Table of Decisions Without Reported Opinions' appearing in the Federal Reporter. The Sixth Circuit provides by rule criteria for designating decisions for publication, and states that citation of unpublished decisions is 'disfavored,' though under prescribed conditions such decisions may be cited if counsel serves a copy on all parties and the Court.  Sixth Circuit Rules, Rule 24, 28 U.S.C.A.)
    
    